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  IT IS ORDERED as set forth below:



  Date: September 14, 2023
                                                     _________________________________

                                                                Sage M. Sigler
                                                         U.S. Bankruptcy Court Judge

 ________________________________________________________________




                     UNITED STATES BANKRUPTCY COURT
                      NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

IN RE                                         :   CHAPTER 11
                                              :
KRW HOLDINGS LLC,                             :
                                              :   CASE NO. 23-57244-SMS
                                              :
              DEBTOR.                         :

                             ORDER DISMISSING CASE

        On August 18, 2023, the United States Trustee filed a Motion to Dismiss Case

(“Motion to Dismiss”) [Dkt. No. 11]. In the Motion to Dismiss, the United States Trustee

asserts that the case of KRW Holdings LLC (“Debtor”) should be dismissed pursuant to

section 1112(b) because Debtor is an artificial entity that cannot proceed in this case

without attorney representation.
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       On September 13, 2023, the only party present at the call of the calendar for the

Motion to Dismiss was Alan Hinderleider, counsel for the United States Trustee.

       The Court, having reviewed the Motion to Dismiss and the record in this case,

finds cause to grant the unopposed relief requested by the United States Trustee.

Accordingly, it is

       ORDERED that United States Trustee’s Motion to Dismiss Pursuant to Section

1112(b) is hereby GRANTED. The case is hereby DISMISSED.

END OF DOCUMENT

Prepared and submitted by:
MARY IDA TOWNSON
UNITED STATES TRUSTEE
REGION 21

                                        By:              /s/
                                        Alan Hinderleider
                                        Georgia Bar No. 938543
                                        Trial Attorney
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                                        Alan.Hinderleider@usdoj.gov


The Clerk of Court is hereby requested to serve a copy of this order upon the Debtor and
all creditors and parties-in-interest in the case.




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